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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

LUMINATI NETWORKS LTD.                        §
                                              §
v.                                            §           Case No. 2:18-cv-299 JRG
                                              §
UAB TESONET                                   §

                MINUTES FOR SEALED PRETRIAL CONFERENCE
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                   January 3, 2020

 ATTORNEYS FOR PLAINTIFF:                         See attached.

 ATTORNEYS FOR DEFENDANT:                         See attached.

 LAW CLERKS:                                      Adam Ahnhut
                                                  Christian Chessman

 COURT REPORTER:                                  Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                                Jan Lockhart

 TIME            MINUTES
 1:21 p.m.       Court opened. Counsel introduced co-counsel. Courtroom sealed.
 1:23 p.m.       Messrs. Cherian and Callahan read the terms of the parties’ settlement agreement
                 into the record. Terms of the agreement are to remain confidential.
 1:28 p.m.       The Court ORDERED that the case be stayed for 30 days pending the submission
                 of dismissal documents.
 1:30 p.m.       Courtroom unsealed. Court adjourned.
